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                    IN THB UNITEDSTATESDISTRICTCOURT
                   FORTHE SOUTHERNDISTRICTOF GEORGIA                       2815
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                             AUGUSTADIVISION
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UNITED STATBSOF AMERICA,


                                              CaseNo. CR 108-061

CALVIN LEE STEVENSON,JR.,

      Defendant.



                                     ORDER


      On November 17,2c75, the Court receiveda request,now construed as a motion,

seeking the release of Defendant Calvin        Lee Stevenson,      Jt.'s   Presentence

Investigation Report ("PSI") to the Clemency Project 2014. This motion was filed by

cf,nthia w. Roseberry, who is appearing pro bono on behalf of Defendant. After careful

consideration, the motion is GRANTED        and the Bureau of Prisons ("BoP") is

authorized to release Defendant's PSI to counsel representing Defendant as part of the

Clemency Project zor4. Counsel shall fully comply with the BOP policy for releasing

PresentenceReports to Clemency Project 2014 attorneys:

      (r) use of the PSI shall be exclusivelyfor counsel'srepresentationof Defendantin

          connectionwith the ClemencyProject 2014;

      (z) disclosure of the PSI may occur only with the permission of Defendant and

          only to members of the Clemency Project zor4's screening and steering

          committees who have executednondisclosureagreements,and to the Office
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           of the Pardon Attorney as a required attachment to any petition for

           clemency;

      (g) further disclosureof the PSI to any other individual is strictly forbidden;

      (4) disclosureof the PSI to an inmate in the custody of the BOP is not permitted

           under any circumstances;and

      (S) destruction of the PSI shall occur immediately following the conclusion of

           counsel'srepresentation.

      Any failure to strictly comply with these restrictions may subject counsel to

discinline from this Court.

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       So ORDERED             I 84    dayof November,2015.




                                                ATESDISTRICTCOURT
                                                DISTRICT OF GEORGIA




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